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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                           )
                                                     )
       Plaintiff,                                    )       No. 6:20-CR-2-REW-HAI
                                                     )
 v.                                                  )
                                                     )                 ORDER
 GLENNIS REED NANTZ,                                 )
                                                     )
       Defendant.                                    )
                                                     )

                                       *** *** *** ***

       After conducting Rule 11 proceedings, see DE 347 (Minute Entry), Judge Ingram

recommended that the undersigned accept Defendant Glennis Reed Nantz’s guilty plea and

adjudge him guilty of Counts 1 and 4 of the Superseding Indictment (DE 207). See DE 348

(Recommendation); see also DE 332-1 (Plea Agreement). Judge Ingram expressly informed

Defendant of his right to object to the recommendation and to secure de novo review from the

undersigned. See DE 348 at 3. The established, 3-day objection deadline has passed, and no party

has objected.

       The Court is not required to “review . . . a magistrate’s factual or legal conclusions, under

a de novo or any other standard, when neither party objects to those findings.” Thomas v. Arn, 106

S. Ct. 466, 472 (1985); see also United States v. Walters, 638 F.2d 947, 949–50 (6th Cir. 1981)

(holding that a failure to file objections to a magistrate judge’s recommendation waives the right

to appellate review); Fed. R. Crim. P. 59(b)(2)–(3) (limiting de novo review duty to “any

objection” filed); 28 U.S.C. § 636(b)(1) (limiting de novo review duty to “those portions” of the

recommendation “to which objection is made”).



                                                 1
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        The Court thus, with no objection from any party and on full review of the record,

ORDERS as follows:

        1. The Court ADOPTS DE 348, ACCEPTS Nantz’s guilty plea, and ADJUDGES him

           guilty of Counts 1 and 4 of the Superseding Indictment (DE 207);

        2. Further, per Judge Ingram’s unopposed recommendation and Defendant’s agreement

           (DE 332-1 ¶ 9), the Court provisionally FINDS that Nantz has an interest in items 1-4

           and the ammunition in item 8, identified in the operative indictment (DE 207 at 8), and

           preliminarily ADJUDGES Defendant’s interest in such property FORFEITED.

           Under Criminal Rule 32.2, and absent pre-judgment objection, “the preliminary

           forfeiture order becomes final as to” Defendant at sentencing. Fed. R. Crim. P.

           32.2(b)(4)(A). The Court will further address forfeiture at that time. See id. at (b)(4)(B);

        3. The Court, as to this Defendant only, GENERALLY CONTINUES the jury trial in

           this matter; and

        4. The Court will issue a separate sentencing order.1

        This the 24th day of August, 2020.




1
 At the hearing, Judge Ingram remanded Nantz to custody. See DE 347. The Court, thus, sees no
need to further address detention, at this time.
                                                  2
